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                                         #355



                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS


  UNITED STATES OF AMERICA,                      )
                                                 )
                                Plaintiff,       )
                                                 )
                  vs.                            )   CRIMINAL NO. 06-30138-DRH
                                                 )
  THOMAS E. BEVINEAU,                            )
                                                 )
                                Defendant.       )

                                             ORDER

           Defendant’s Motion for Extension of Time to File Document coming on to be

  heard:

           IT IS HEREBY ORDERED that the defendant be granted an extension of time in

  which to file his Objections to the Presentence Report and his Notice Concerning the

  Presentence Report until April 13, 2007.

           Dated this 30th day of March, 2007.

                                                     Enter:



                                                     /s/ David RHerndon
                                                     Judge
